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                                      United States Bankruptcy Court
                                       Middle District of Florida
In re:                                                                                 Case No. 19-01977-FMD
Patrick Anthony Derosa, Jr.                                                            Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113A-9          User: jmontero               Page 1 of 2                   Date Rcvd: Mar 13, 2019
                              Form ID: 309I                Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 15, 2019.
db             +Patrick Anthony Derosa, Jr.,     12070 Lucca Street, #201,    Fort Myers, FL 33966-5378
aty            +Brooke N Martinez,    Pavese Law Firm,    1833 Hendry Street,    Fort Myers, FL 33901-3054
28105533        CHASE MORTGAGE,    PO BOX 24696,    COLUMBUS, OH 43224-0696
28105536       +EQUIFAX CREDIT INFORMATION,    SERVICES, INC.,    P.O. BOX 740241,    ATLANTA, GA 30374-0241
28105537       +EXPERIAN,   475 ANTON BOULEVARD,     COSTA MESA, CA 92626-7037
28105541      ++LEE MEMORIAL HEALTH SYSTEM,    ATTN ANGELA TAYLOR,    224 SANTA BARBARA BLVD,
                 CAPE CORAL FL 33991-2038
               (address filed with court: LEE MEMORIAL HEALTH SYSTEM,       PO BOX 150107,
                 CAPE CORAL, FL 33915-0107)
28105544       +PAVESE LAW FIRM,    1833 HENDRY STREET,    FORT MYERS, FL 33901-3054
28105543        PAVESE LAW FIRM,    PO DRAWER 1507,    FORT MYERS, FL 33902-1507
28105545       +PORTOFINO V CONDOMINIUM ASSO,     15751 SAN CARLOS BLVD. #8,    FORT MYERS, FL 33908-3326
28105546        PROFESSIONAL ADJUSTMENT,    14410 METROPOLIS AVENUE,    FORT MYERS, FL 33912-4341
28105548       #SETERUS,   BANKRUPTCY NOTICES,     PO BOX 4128,   BEAVERTON, OR 97076-4128
28105550       +TRANSUNION CONSUMER SOLUTION,     P.O. BOX 2000,   CHESTER, PA 19016-2000
28105551       +US ATTORNEY GENERAL,    950 PENNSYLVANIA AVE NW,    WASHINGTON, DC 20530-0009
28105552       +US ATTORNEY’S OFFICE MD FLA,     400 N TAMPA ST STE 3200,    TAMPA, FL 33602-4774

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dlampley@dellutrilawgroup.com Mar 13 2019 23:53:01       David Lampley,
                 The Dellutri Law Group, PA,    1436 Royal Palm Square Blvd.,    Fort Myers, FL 33919-1049
tr              E-mail/Text: filingwaage@tampa13.com Mar 13 2019 23:54:29       Jon Waage,    P O Box 25001,
                 Bradenton, FL 34206-5001
ust            +E-mail/Text: ustpregion21.tp.ecf@usdoj.gov Mar 13 2019 23:55:26
                 United States Trustee - FTM7/13, 7,    Timberlake Annex, Suite 1200,     501 E Polk Street,
                 Tampa, FL 33602-3949
28105532        EDI: CAPITALONE.COM Mar 14 2019 03:33:00      CAPITAL ONE,    PO BOX 30285,
                 SALT LAKE CITY, UT 84130-0285
28105534       +Fax: 602-659-2196 Mar 14 2019 02:55:01      CHEXSYSTEMS,    CONSUMER RELATION,
                 7805 HUDSON RD STE 100,    WOODBURY, MN 55125-1595
28105535       +EDI: RCSFNBMARIN.COM Mar 14 2019 03:33:00      CREDIT ONE BANK,    PO BOX 98873,
                 LAS VEGAS, NV 89193-8873
28105531        EDI: FLDEPREV.COM Mar 14 2019 03:33:00      Department of Revenue,    PO Box 6668,
                 Tallahassee, FL 32314-6668
28105538        E-mail/Text: bankruptcy@gulfcoastcollection.com Mar 13 2019 23:54:16        GULF COAST COLLECTION,
                 5630 MARQUESAS CIRCLE,   SARASOTA, FL 34233-3331
28105539        EDI: IRS.COM Mar 14 2019 03:33:00      INTERNAL REVENUE SERVICE,    CENTRALIZED INSOLVENCY OP,
                 PO BOX 7346,   PHILADELPHIA, PA 19101-7346
28105540        EDI: CBSKOHLS.COM Mar 14 2019 03:33:00      KOHL’S,   PO BOX 3043,    MILWAUKEE, WI 53201-3043
28105540        E-mail/Text: bncnotices@becket-lee.com Mar 13 2019 23:53:54       KOHL’S,    PO BOX 3043,
                 MILWAUKEE, WI 53201-3043
28105542       +E-mail/Text: bk@lendingclub.com Mar 13 2019 23:55:21       LENDING CLUB,    71 STEVENSON STE 300,
                 SAN FRANCISCO, CA 94105-2985
28105547       +E-mail/Text: jennifer.chacon@spservicing.com Mar 13 2019 23:56:02
                 SELECT PORTFOLIO SERVICING,    BANKRUPTCY DEPT.,   PO BOX 65250,
                 SALT LAKE CITY, UT 84165-0250
28105549        EDI: RMSC.COM Mar 14 2019 03:33:00      SYNCHRONY BANK/LORD & TAYLOR,     BANKRUPTCY DEPT.,
                 PO BOX 965060,   ORLANDO, FL 32896-5060
28105553       +EDI: WFFC.COM Mar 14 2019 03:33:00      WELLS FARGO AUTO,    POB 17900,    DENVER, CO 80217-0900
                                                                                               TOTAL: 15

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr               Portofino V Condominium Association, Inc.
28105530*        Internal Revenue Service,   P.O. Box 7346,   Philadelphia, PA 19101-7346
                                                                                              TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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                                      Form ID: 309I                      Total Noticed: 28


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 15, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 13, 2019 at the address(es) listed below:
              Brooke N Martinez    on behalf of Creditor   Portofino V Condominium Association, Inc.
               brookemartinez@paveselaw.com, susannahra@paveselaw.com
              David Lampley     on behalf of Debtor Patrick Anthony Derosa, Jr. dlampley@dellutrilawgroup.com,
               TheDellutriLawGroup@jubileebk.net;dfineman@dellutrilawgroup.com;ign.dellutrilawgroup.com@gmail.co
               m;R41982@notify.bestcase.com
              Jon Waage    jwflecf@trustee13.com
              United States Trustee - FTM7/13, 7    USTPRegion21.TP.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
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Information to identify the case:
Debtor 1                 Patrick Anthony Derosa Jr.                                             Social Security number or ITIN    xxx−xx−8966

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Middle District of Florida
                                                                                                Date case filed for chapter 13 3/8/19
Case number:          9:19−bk−01977−FMD



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Patrick Anthony Derosa Jr.

2. All other names used in the
   last 8 years
                                              aka Patrick A DeRosa Jr., aka Patrick DeRosa Jr., aka Pat
                                              DeRosa Jr.

                                              12070 Lucca Street, #201
3. Address                                    Fort Myers, FL 33966
                                              David Lampley                                                 Contact phone 239−939−0900
4. Debtor's  attorney
   Name and address
                                              The Dellutri Law Group, PA
                                              1436 Royal Palm Square Blvd.                                  Email: dlampley@dellutrilawgroup.com
                                              Fort Myers, FL 33919−1049

5. Bankruptcy Trustee                         Jon Waage                                                     Contact phone 941−747−4644
     Name and address                         P O Box 25001
                                              Bradenton, FL 34206−5001

6. Bankruptcy Clerk's Office                                                                                Hours open:
     Documents in this case may be filed                                                                    Monday − Friday 8:30 AM − 4:00PM
     at this address.                         801 N. Florida Ave. Suite 555
     You may inspect all records filed in     Tampa, FL 33602−3899
     this case at this office or online at                                                                  Contact phone 813−301−5162
      www.pacer.gov.
                                                                                                            Date: March 13, 2019
                                                                                                                  For more information, see page 2

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Debtor Patrick Anthony Derosa Jr.                                                                                                         Case number 9:19−bk−01977−FMD

7. Meeting of creditors
    Debtors must attend the meeting to     April 18, 2019 at 09:00 AM                                                   Location:
    be questioned under oath. In a joint                                                                                United States Courthouse Federal Bldg., 2110
    case, both spouses must attend.                                                                                     First Street 2−101, Fort Myers, FL 33901
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so. You are reminded    later date. If so, the date will be on the court
    that Local Rule 5073−1 restricts the   docket.
    entry of personal electronic devices
    into the Courthouse.
                                              *** Debtor(s) must present Photo ID and acceptable
                                             proof of Social Security Number at § 341 meeting. ***
8. Deadlines                               Deadline to file a complaint to challenge                                             Filing deadline: June 17, 2019
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                                   Filing deadline: May 17, 2019
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                                    For a governmental unit: 180 days from
                                           claim:                                                                                the date of filing



                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed online at
                                           the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any bankruptcy clerk's
                                           office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.
                                           Attention Mortgage Holders: Attachments to your Proof of Claim may be required by changes to Rule 3001.
                                           Forms and attachments are available at at www.uscourts.gov.


                                           Deadline to object to exemptions:                                                      Filing deadline:        30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                             conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                              meeting of creditors
                                           may file an objection.

9. Filing of plan, hearing on              The plan will be sent separately. The initial confirmation hearing will be held on:
   confirmation of plan                    June 20, 2019 at 01:30 PM, Location: Room 4−102, Courtroom E, United States Courthouse, 2110 First St.,
                                           Fort Myers, FL 33901

                                           Debtors and their attorneys are not required to attend the Initial Confirmation Hearing because, in most cases, the Initial
                                           Confirmation Hearing will be continued to a date after the deadline for filing proofs of claim. However, the Court will hear
                                           and may rule on motions and objections that are separately noticed for hearing for the same time as the Initial Confirmation
                                           Hearing.
                                           Local Rule 5073−1 restricts the entry of electronic devices and mobile phones into the Courthouse.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend the deadline in
                                           this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in this case.
    address
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according to a plan. A plan is
                                           not effective unless the court confirms it. You may object to confirmation of the plan and appear at the confirmation hearing. A copy of
    bankruptcy case                        the plan, if not enclosed, will be sent to you later, and if the confirmation hearing is not indicated on this notice, you will be sent notice
                                           of the confirmation hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.

12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to creditors, even if
                                           the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You may inspect that list at the bankruptcy
                                           clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an exemption that debtors claimed, you may
                                           file an objection by the deadline.

13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt. However,
                                           unless the court orders otherwise, the debts will not be discharged until all payments under the plan are made. A discharge
                                           means that creditors may never try to collect the debt from the debtors personally except as provided in the plan. If you
                                           want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and
                                           pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
                                           discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office must
                                           receive the objection by the deadline to object to exemptions in line 8.
14. Voice Case Info. System                McVCIS provides basic case information concerning deadlines such as case opening and closing date, discharge date and
    (McVCIS)                               whether a case has assets or not. McVCIS is accessible 24 hours a day except when routine maintenance is performed. To
                                           access McVCIS toll free call 1−866−222−8029.


Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                                                     page 2
